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Magistrate Judge Monica J. Benton

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WES EER GHSFaigt OF WASHINGTON, (M-NEI-00627-C MP

BY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA,
DOCKET NO.»
. a
Plaintiff, OF 27 MF
v.
COMPLAINT for VIOLATION ©
FINN W. CONTINI, Title 18, United States Code,
ROBERT A. HOWDESHELL, Section 371; Title 18, United States
ALYSON M. CLARK, and Cade, Sections 1341 and 1346; and
CHRISTINE J. HENDRICKSON Tide ( * United States Code, Section
a).
Defendants.

 

BEFORE, Monica J. Benton, United States Magistrate Judge, Seattle, Washington.
The undersigned complainant, Special Agent Sonya Johnson, being duly sworn states:
COUNT 1
(Conspiracy)

l. From a date uncertain, bui no later than in or about September 1999, and
continuing until in or about January 2003, within the Western District of Washington and
elsewhere, the defendants FINN W. CONTINI, ROBERT A. HOWDESHELL, ALYSON
M. CLARK, and CHRISTINE J. HENDRICKSON, together with other persons known and
unknown, did unlawfully, willfully and knowingly combine, conspire, confederate and

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apree among themselves and with each other to commit certain offenses against the United
States, as follows:
A, Introduction

At all tunes relevant to this Complaint:

2. Microsoft Corporation (Microsoft), located in Redmond, Washington, was
engaged in manufacturing computer sofiware.

3. ClientLogic, located in Buffalo, New York, provided warehousing services
to Microsoft, in which Microsoft stored software after manufacturing and prior to sale.

4. Microsoft Internal Product Ordering Service (“IPO”), also known as MS
Market, is an on-line ordering feature that allows Microsoft employees to order Microsoft
software for business purposes at no cost to themselves, Microsoft employees who wish
to order such software submit an order electronically, via the Internet, specifying the
desired type and number of Microsoft software products. This order is received by
ClicntLogic.

>, Upon receiving orders for computer software through the IPO program,
ClientLogic uses various commercial interstate carriers, including Airborne Express and
United Parcel Service, to deliver the software from its warehouse located in Grove City,
Ohio, to the address identified on the orders,

6, Microsoft guidelines specifically advised Microsoft employees that use of MS
Market is restricted for Microsoft “business purposes.” The MS Market and Internal
Product Ordering (IPO) Program Guidelines specifically state, in relevant part:

What is not available through the IPO Program’? The
IPO Program has set critenia, which Products must meet
through the IPO Program are for Business use only.

Microsoft’s “General Company Guidelines” also state in relevant part:

Any violation of the following guidelines or other misconduct
may result in disciplinary action, up to and including immediate

UNITED STATES ATTORNEY
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termination of employment.

OF ok
Abuse of any Microsoft privilege, such as. ..internal orders... This

includes any activity, legal or illegal, using your Microsoft
position or Microsoft property, equipment or services for
Removal ot use we company property (except for company
business), or property of other persons, without written
permission.

7. Although Microsoft software products offered through MS Markct’s IPO
program are available at no cost to the employee, the products have high retail value in the
secondary market. The retail value of the software is based on the “estimated retail price”
set by Microsoft, which owns the intellectual property and distribution rights to the software.
The retail prices for the software are published on Microsoft's various web sites and other
publications.

8. When subinitting an order through MS Market’s IPO program, the employee
must notify his or her supervisor or manager of the order via the program. Prior to March
13, 2002, individuals with access to MS Market could manipulate the program to prevent an
cmail alert to the employee’s supervisor or manager regarding the employee’s ordering
activities.

9. From on or about September 20, 1999, until his resignation on or about
February 4, 2002, FINN W. CONTINI was employed by Microsoft as a Group Assistant.
During his employment with Microsoft, CONTINI had access to MS Market and the IPO
program.

10, From on or about May 15, 2000, until his resignation on or about October 5,
2001, ROBERT A. HOWDESHELL was employed by Microsoft as a Project Coordinator.
During his employment with Microsoft, HOWDESHELL had access to MS Market and the
IPO program.

ll. From on or about June 29, 1992, until her termination on or about October 7,

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2004, ALYSON M. CLARK was employed by Microsoft as a Group Assistant. During her
employment with Microsoft, CLARK had access to MS Market and the [PO Program.

12. From onor about March 13, 2000, until her termination on or about June 12,
2002, CHRISTINE J. HENDRICKSON was employed by Microsoft as a Group Assistant.
During her employment with Microsoft, HENDRICKSON had access to MS Market and
the IPO program.

B. j nspira

13. The object of the conspiracy was to devise a scheme and artifice to defraud
and for obtaining money and property by means of false and fraudulent pretenses,
representations and promises; and for the purpose of executing such scheme or artifice and
for attempting to do so, knowingly and willfully sent and delivered and caused to be sent
and delivered by private and commercial interstate carrier according to the directions
thereon, Microsoft software products, all in violation of Title 18, United States Code,
Sections 1341 and 13464,
€. Manner and Means of the Conspiracy and Scheme to Defraud.

14. It was part of the scheme and artifice to defraud that defendants FINN W.
CONTINI, ROBERT A, HOWDESHELL, ALYSON M. CLARK, and CHRISTINE J.
HENDRICKSON used MS Market and the IPO Program to electronically transmit in
interstate commerce, Via the Internet, orders for Microsoft software products to ClientLogic
located in Buffalo, New York.

13, It was further part of the scheme and artifice to defraud that CONTINI,
HOWDESHELL, CLARK, and HENDRICKSON, in ordering Microsoft software, did not
intend to apply it to any Microsoft “business-use;” rather, they intended to sell it to others
for personal profit.

16. It was further part of the scheme and artifice to defraud that although
CONTINI, HOWDESHELL, CLARK, and HENDRICKSON knew that Microsoft

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employees were prohibited from using MS Market to order computer software for personal
use, they did not reveal to Microsoft that they, in fact, were ordering Microsoft software for
personal use, that is, to sell it for personal profit.

17, Jt was further part of the scheme and artifice to defraud that CONTINI,
HOWDESHELL, and HENDRICKSON, manipulated the MS Market ordering system in
order that their respective supervisors or managers were not notified of their numerous
orders for Microsoft software. Instead, CONTINI, HOWDESHELL and HENDRICKSON
would substitute cach other’s email addresses for those of their supervisors or managers in
order ta conceal from their supervisors or managcrs their orders.

18. It was further part of the scheme and artifice to defraud that when CONTINI
was no longer employed by Microsoft, CLARK and HENDRICKSON continued to use
MS Market and the IPO Program to place orders for Microsoft software products on
CONTINI’s behalf in return for a percentage of the sale proceeds received by CONTINI
from the resale of the software products in the secondary market.

19. It was further part of the scheme and artifice to defraud that CONTINI,
HOWDESHELL, CLARK, and HENDRICKSON used MS Market to fraudulently order

from Client Logic the following amounts of Microsoft soflware products:

 

 

 

 

 

 

 

 

 

 

 

Ordered By Number of Software Estimated Retail Value
Products Ordered
CONTINI 5,400 $17 million
HOWDESHELL 985 $4 million
CLARK 618 $1.7 million
HENDRICKSON 1726 $9.7 million
Total 8729 $32.4 million

 

D, Overt Acts

20. In furtherance of the conspiracy and to promote the objects thereof,

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defendants CONTINI, HOWDESHELL, CLARK, and HENDRICKSON, and other persons
known and unknown, committed and caused, among others, the overt acts described in
Counts 2 through 5 of this Complaint:
All im violation of Title 18, United States Code, Section 371.
COUNTS 2-5
(Mail Fraud)

21. Sections A (Introduction), C (Manner and Means of Conspiracy and Scheme
to Defraud) and D (Overt Acts) of Count 1 of this Complaint are incorporated by reference
as though fully set forth herein.

22. Onor about the dates set forth below, in the Western District of Washington,
and elsewhere, the defendants FINN W. CONTINI, ROBERT A. HOWDESHELL,
ALYSON M. CLARK, and CHRISTINE J, HENDRICKSON, together with other persons
known and unknown, having devised, and aided and abetted in devising the above-
described scheme and artifice to defraud, did, for the purpose of executing such scheme and
artifice, knowingly and willfully cause to be sent and delivered by private and commercial
interstate carrier according to the directions thereon, the items listed below, constituting a
representative sample of the use of the mails and private and commercial interstate carriers

in furtherance of the scheme and artifice to defraud, and is a separate count of this

 

 

 

 

 

 

 

 

 

 

 

 

Complaint:
Count Date Ordered By Sent To Description of
Item
2 May 25, 2001 | CONTINI Sirius Enterprises 25 Windows
14636 NE 44th Street Advanced Server
Suite C6 2000 with 25 Client
Bellevue, WA 98007 Licenses.
3 Sept. 20,2001 | HOWDESHELL | ACS 25 Exchange Server
10020 Main St. A263 Enterprise 2000
Bellevue, WA 98004 with 25 Client
Licenses.
UNITED STATES ATTORNEY

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May 23, 2002 | CLARK Alyson Clark 25 SQL Server 2000
Microsoft Corporation | Standard Edition
4200 150th Ave NE with 5 Client
Redmond, WA 98052 =| Licenses

Jan. 30,2002 | HENDRICKSON | N. Candy 36 Windows Server
Guardian Enterprises 2000 with 10 Client
15127 NE 24th Street =| Licenses
#297
Redmond, WA 98052

 

 

 

 

 

It is further alleged that each of these offenses were committed in furtherance of the
conspiracy charged in Count 1.

All in violation of Title 18, United States Code, Sections 1341, 1346 and 2.

COUNTS 6-9
(Money Laundering)

On or about the dates listed below, within the Western District of Washington, and
elsewhere, FINN W. CONTINI, did knowingly engage or attempt to engage in the
following monetary transactions, by, through, and to financial institutions, which monetary
transactions affected interstate commerce, each transaction being a separate count, and each
iransaction being a representative sample of the transactions in criminally derived property
ofa value greater than $10,000, such property having been derived from specified unlawful
activity, to wit: a scheme and artifice to defraud or to obtain money or property by means
of faise and fraudulent pretenses, representations, and promises, in violation of Title 18,
United States Code, Sections 1341 and 1346. The monetary transactions include:
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Count Date

Transaction

Amount

 

6 April 24, 2001

Deposits check number
1015 from Bank of
America Account
Number 62796602 in the
name of Contini, Inc. to
Morgan Stanley
Brokerage Account
Number 130-024050 in
the name of Finn
Contin.

$500,000

 

7 June 28, 2001

Wire transfer from
Group Health Credit
Union Account Number
12215] to an account in
the name of Escrow
Pariners for the purchase
of a condominium
located at 11804 NE
80th Street, Unit #1,
Kirkland, Washington.

$215,115.57

 

8 Sept. 28, 2001

Wire transfer from
Group Health Credit
Union Account Number
122151 to an account in
the name of the Chicago
Title Company for the
purchase of a
condominium located at
7323 Old Redmond Rd.,
#D8, Redmond,
Washington.

$285,125.67

 

 

9 Jan. 23, 2003

 

 

 

Wire transfer from First
Mutual Bank Account
Number 0011-16003 1-08
to an account in the
name of Eastside
Escrow for the purchase
of a condominium
located at 7323 Old
Redmond Rd., #B3,
Redmond, Washington,

 

$308,064.25

 

All in violation of Title 18, United States Code, Section 1957.

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COUNTS 10-14
(Money Laundering)

On or about the dates listed below, within the Wester District of Washington, and
elsewhere, ROBERT A. HOWDESHELL, did knowingly engage or attempt to engage in
the following monetary transactions, by, through, and to financial institutions, which
monetary transactions affected interstate commerce, cach transaction being a separate
count, and cach transaction being a representative sample of the transactions in criminally
derived property of a value greater than $10,000, such property having been derived from
specified unlawful activity, to wit: a scheme and artifice to defraud or to obtain money or
property by means of false and fraudulent pretenses, representations, and promises, in
violation of Title 18, United States Codec, Sections 1341 and 1346. The monetary

transactions include:

 

Count Date Transaction Amount

10 Nov. 27, 2001 | Check number $18,500.00
491301189 drawn from
Washington Mutual
Bank Account Nuinber
$12-343623-1 made

ayable to Foss Audio
‘or the purchase of car
audio equipment.

11 Jan. 14,2002 | Washington Mutual $35,000.00
Cashiers check drawn
from Washington
Mutual Bank Account
Number 512-343623-1
for the purchase ofa
2000 Ford Excursion.

12 Jan. 25,2002 | Washington Mutual $56,903.87

Check Number

519362441 drawn from

Washington Mutual

Bank Account Number

§12-343623-1 for the
urchase of a 2002 Sea

y boat.

 

 

 

 

 

 

 

 

 

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13 Feb. 13, 2002 | Washington Mutual $50,493.92
Check Number
§95201021 drawn from
Washington Mutual
Bank Account Number
512-343623-1 for the

urchase of a 2002

MC Yukon.

14 Oct. 9, 2002 Washington Mutual $28,000
Check Numbers
014927872 and
014927873 drawn from
Washington Mutual
Bank Account Number
§12-343623-1 for the
purchase of an espresso
stand business.

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1957,

And the conplainant further states;

INTRODUCTION

1. Lam employed as a Special Agent with the Internal Revenue Service -Criminal
Investigation Division (IRS-CID). I have been employed as a special agent with IRS-CID
for almost 20 years. I am currently assigned to the Seattle Field Office. Prior to my current
assignment, I worked in the Phoenix Field Office for 18 years. My official duties and
responsibilities include the investigation of alleged criminal violations of the Internal
Revenue laws and related offenses, including money laundering violations.

2. The facts set forth in this affidavit are based on my own personal knowledge,
and on information obtained from other individuals during my participation in this
investigation, including other law enforcement officers and representatives of the victim,
Microsoft Corporation; interviews with the subjects of the investigation; my review of
documents and financial records related to this investigation; and knowledge gained through
my training and experience. Because this affidavit is submitted for the limited purpose of

establishing probable cause in support of this Complaint, it does not set forth cvery fact that

UNITED STATES ATTORNEY
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J or others have learned during the course of this investigation.
I Summary of the Investigation

3. Evidence collected during this mvestigation has established that FINN W.
CONTINI, ROBERT A. HOWDESHELL, ALYSON M. CLARK, and CHRISTINE J.
HENDRICKSON, all former employees of Microsoft, together with others known and
unknown, conspired to fraudulently obtain numerous Microsoft software products for resale
in secondary markets, CONTINI, HOWDESHELL, CLARK and HENDRICKSON then
engaged m financial transactions with the proceeds of their illegal activity by opening
numerous bank accounts with the proceeds, transferring the proceeds among those accounts,
and purchasing real and personal properties with the proceeds, Together, CONTINI,
HOWDESHELL, CLARK, and HENDRICKSON collectively obtamed by fraud
approximately 8729 pieces of Microsoft software products with a total estimated retail value
of over $32 million. The investigation has established that CONTINI, HOWDESHELL,
CLARK, and HENDRICKSON together earned more than $3 million through the resale of
these Microsoft software products in the secondary market.

II Trafficking ip Pirated or Counterfeit

4. The Business Software Alliance (BSA), an industry group, estimates that m
2002 the software industry lost nearly $2 billion in revenue in the United States alone due
to software theft. There arc five common types of software piracy: End User Piracy, Client-
Server Overuse, Internet Piracy, Hard-Disk Loading, and Software Counterfeiting.

5. End User Piracy involves acquiring copies of restricted or non-retail software
without a license for commercial use and converting them for commercial sale. Microsoft
produces, sells, and distributes certain software titles under special discount licenses to
academic institutions, computer manufacturers, and other high-volume customers. This
software is labeled “academic edition”. Other Microsoft software are produced and

distributed for non-retail purposes. Illegal channeling, or mischanneling, occurs when such

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software is redistributed to other resellers or users who do not qualify for these special
licenses.

6, Client-Server Qveruse occurs when too many users are using a central copy of
a program at the same time. When local-area network operators install programs on a server
for several people to use, they must be sure their license entitles you them do so. If there are
more users than allowed by the licensc, that is “overuse”.

7. Internet Piracy refers to the use of the Internet for illegally copyimg or
distributing unauthorized software. The offenders may use the Internet for all or some of
their operations including the advertising, offering, acquinng, or distribution of pirated
software. One form of Internet piracy involves the use of Internet auction sites to offer
counterfeit, out-of-channel, infringing copyright software. The BSA estimates that there are
840,000 Internet sites selling illegal software as the real thing. According to Microsoft's
website, a recent investigation indicates that more than 60% of software sold through Internet
auction sites is counterfeit and more than 90% is sold in violation of the publisher's license
agreement,

8. Hard Disk Loading occurs when a business that sells new computers loads
illegal copies of software onto the hard disks to make the purchase of the machines more
attractive.

9, Software Counterfeiting involves the illegal duplication and sale of copyrighted
material with the intent to directly imitate the copyrighted product. In the case of packaged
software, it is common to find counterfeit copics of the CDs or diskettes incorporating the
software programs, as well as related packaging, manuals, license agreements, labels,
rcgistration cards and security features.

10. The above various forms of software piracy are facilitated by brokers and
resellers who obtain through illegal means large quantities of “academic edition” software,

“not for resale” software, and client-server software for minimal number of users. The

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brokers and resellers then chemically remove the words “academic edition” and “not for
resale” on client-server software media and alter/increase the number of users on the related
end-user license agreements, which increases the value. After the software is chemically
treated, the software, user manual, the fraudulently alitcred or counterfeit license agreement
and fraudulent Certificates of Authenticity are attached together with shrink-wrap for sale.

11. Investigation by the Microsoft Corporate Security and law enforcement
discovered that some of these above described brokers and resellers have as their sources for
pirated software current and former employees of Microsoft. Investigation has established
that, among other means, the employees exploited a Microsoft Internal Product Order

Program to fraudulently obtain software and sell them to such brokers and resellers for a
profit,
Til Microsoft Internal Product Order Program
12. MS Market is a website available to Microsoft full-time employees, official
vendors, interns and contingent staff personnel who have been issued network credentials to
access Microsoft’s internal (computer) network, MS Market contains the Microsoft Internal
Product Order (IPO) Program, which allows Microsoft employees to order, among other
things, Microsoft software needed to do their jobs. Products offered through the JPO
Program are at no cast to the employee, but are restricted for Microsoft business use only.
13. Employees of Microsoft are made aware of policy regarding the appropriate
use of the IPO Program by way of written guidelmes. The MS Market and Internal Product
Ordering (IPQ) Program Guidelines specifically state, in relevant part:
What is not available through the IPO Program? The IPO
beoffored intemally. Products offered through the [PO Program
are for business-use only.

Microsoft’s “General Company Guidelines” also state in relevant part:

Any violation of the following guidelines or other misconduct
may result in disciplinary action, up to and including immediate

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termination of employment.

OME

Abuse of any Microsoft privilege, such as...internal orders... This
includes any activity, legal or illegal, using your Microsoft
position or Microsoft property, equipment or services for

personal use or gain.
ee &

Removal or use of company property (except for company
business), or property of other persons, without wntien
permission.

14. Even though the software titles ordered through the IPO program are at no cost
to Microsoft employees, they have high retail values in the secondary market. The retail
value of the software is based on the “estimated retail price” which is established by
Microsoft, which owns the intellectual property and distribution rights to the software.
Microsoft sets the retail value price for the software and publishes those prices on its various
web sites and in other publications.

15. When submitting an internal product order, the employee must notify his or her
supervisor or manager of the order via the ordering program. Investigations by Microsoft
Corporate Security into the abuse of the IPO Program established that prior to May 13, 2002,
a small number of employees took advantage of a design flaw in the IPO Program.
Specifically, this flaw created opportunities for fraud by allowing the ordering employee to
remove the email address of his or her real manager and substitute the ernail address of an
associate during the order process, Because of this manipulation, the manager of the
employee submitting the internal product order never received email notification of the order
activity.

THE INVESTIGATION OF FINN W, CONTINI

I CONTINI’s Employment at Microsoft,

16. CONTINI began his full-time employment at Microsoft on or about
September 20, 1999, as a Group Assistant. As part of his employment with Microsoft,
CONTINI was provided with access to MS Market and the IPO Program. CONTINI’s

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duties as a Group Assistant included ordering supplies, hardware and software though the
TPO Program for his group.

17. Microsoft personnel records show that effective on February 16, 2001,
CONTINI went on short-term disability leave from Microsoft. CONTINI remained on
short-term disability leave from Microsoft until August 3, 2001, when he was approved for
long-term disability benefits. CONTINI never returned to Microsoft and was voluntarily
terminated effective February 3, 2002.

I NTINP re Ordering Activity.

18. The investigation has revealed that during the period of CONTINI’s
employment with Microsoft, from September 1999, through January 2002, CONTINI
ordered approximately 5400 pieces of Microsoft software products through the MS Market

and [PO Program, The orders were directed to be shipped to the following individuals or

 

 

 

 

 

 

 

entities:
Shipped To Quantity Estimated Retail Price
Ali Raisdanai 2551 $8,357,752.00
Sirtus Enterprises/Nick 561 $1,872,277.00
Candy
Integrated Data 270 $760,380.00
Finn Contini 1562 $6,381,648.00
Miscellaneous 456 $247,334.00
TOTAL 5400 $17,619,391.00

 

 

 

 

 

19. Two-thirds of the above summarized orders were placed by CONTINI
between February 16, 2001, and February 3, 2002, when he was absent from Microsoft on
short-term and then long-term disability leave. It is believed that CONTINI accessed the
TPO program through a Microsofi corporate laptop or through Microsoft software installed

on his home computer.

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20. In addition, 3267 out of the total 5400 software pieces ordered were recorded
by the IPO Program as having been approved by ROBERT A. HOWDESHELL.
CHRISTINE J. HENDRICKSON is recorded as having approved orders for approximately
90 software pieces. Neither HOWDESHELL nor HENDRICKSON were authorized by
Microsoft to approve CONTINI’s ordering activity. CONTINI had no reporting
relationship with HOWDESHELL or HENDRICKSON,

21. Ananalysis of the orders revealed that 2551 pieces of Microsoft software
ordered by CONTINI were shipped directly to various addresscs and entities associated
with an individual identified as Ali Raisdanai, Ali Raisdanai is a former Microsoft
employee. CONTINI caused ClientLogic to send software to the following company names

and addresses, using several variations on the spelling of Raisdanai’s name:

 

 

 

 

 

 

ADC #160 A. RAISDANAIL 30251 Golden Lantern, Suite F
Laguana Niguel, CA 92677
TERATEC RAIS ALT or 27758 Santa Margarita Pk
#162 Mission Viejo, CA 92691
AL RA ISDO
VIDCOM #199 A. RASOLANI or 26741 Portola Pkwy, Suite 1E
Foothill Ranch, CA 92610-
A. RASOLINI 1743
ARINC. ALI RAISDANAI or | 23010 Lake Forest Drive, Suite
D Laguana Hills CA 92653
A. RAISDANAT
A.R. INC. ALT RAISDANAT 61 Grenada Street
Laguana Niguel, CA 92677
LBC ALI or 26632 Towne Center Drive
#230

ALI RAISDANAL Foothills Ranch, CA 92610

EVEREADY BATTERY | ALI RAISDANAI 26440 La Almeda
CO AKA ENERGIZER #110
Mission Vicjo, CA 92691

 

 

 

 

 

 

22. Four or the seven addresses listed above have been identified as mailbox

rental centers.

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23. CONTINI submitted the orders shipped to Raisdanai beginning in or about
April 2000, and continuing until in or about December 2001. The types of Microsoft
software ordered by CONTINI and sent to Raisdanai included Visio Enterprise 2000 with
an estimated retail value of $999.00 and the SQL Server 2000 Enterprise Edition with an
estimated retail value of $14,999.00, According to Microsoft, CONTINI had no reason in
connection with his employment duties to order such types and quantities of software and
have it shipped directly to such an individual.

24, CONTINT also submitted orders for approximately 561 items of software
through the [PO Program and caused them to be shipped directly to an entity called Sirius
Enterprises, located at 14636 NE 45th Street C-6 in Bellevue, Washington 98007. The
orders for Sirius Enterprises were submitted between May 2001, through July 2001. The
types of software products ordered included Windows Server 2000 with 10 client licenses
with an estimated retail value of $1,199.99, and the SharePoint Portal Server 2001 with 25
client licenses with an estimated retail value of $6,699.00,

25. The Washington State Department of Revenue’s State Business Records
Database provides public information about businesses registered in Washington State.
According to this database, Sirius Enterprises is a sole proprietorship opened on January 1,
1997, by CHARLES C. CONTINI and engaged in the business of management consulting
services.

26. <A King County District Court “Order Changing Name” dated December 2,
1997, filed with the King County Recorder’s Office, shows that CONTINI changed his name
from CHARLES CHRISTOPHER CONTINI to FINN WOLFE CONTINI.

27, The mternal product orders for the software he had shipped to Sirius
Enterprises were addresscd to 14636 NE 45" Street C-6, Bellevue, Washington 98007.
According to King County records, CONTINI owned the condominium at 14636 NE 45"
Street C-6, Bellevue, Washington 98007, from September 1995, until March 2002,

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CONTINI listed 14636 NE 45" Street C-6, Bellevue, Washington 98007, as his address on
the employment application he filed with Microsoft in September 1999.

28. The recipient of the software CONTIN had shipped to Sirius Enterprises was
“NICK CANDY” or “N. CANDY”, which is similar to CONTINI’s mother’s name, Nancy
Condy.

29. The IPO Program orders submitted by CONTINI that were shipped to himself
were sent to Microsoft’s address at 4200 150th Ave., N.E. Redmond, Washington.
CONTINI submitted these orders between September 1999, through December 2000. The
types of software ordered included Microsoft Expedia Streets and Trips 2000 with an
estimated retail value of $44.95 and the SQL Enterprise Server 7.0 with unlimited client
licenses with an estimated retail value of $28,999.00. The majority of the software
CONTINI ordered was multi-client server software.

III CONTINI’s Illegal Proceeds.

30. The investigation has revealed that shortly after CONTINI began to submit
orders for large quantitics of software through the IPO Propram and continuing after he
resigned from Microsoft, CONTINI deposited in excess of $2 million in checks fram two
individuals and their associated entities: Nathaniel P. Angelus/Software Provisions, LLC and
Stephen D. Morse/S.M. Distribution. The investigation has revealed that these two
individuals and their entities are engaged in the purchase and resale of fraudulently obtamed
soltware.

A. Nathaniel P_ Angelus and Software Provisions, LLC.

3). Between May 2000, and September 2003, CONTINI deposited
$1,016,205.84 in checks drawn from accounts in the names of either Nathaniel P. Angelus

and Software Provisions, LLC, to the following accounts in the name or control of

CONTINI:

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Group Heaith Credit Union Account #110326 930,766,352
in the name of Finn W. Contin

 

Group Health Credit Union Account #49485 In the name of Nancy J. 942,925.00
Condy and Finn W. Contini

 

Group Health Credit Union Account #122151 in the names of Finn W. $244,170.30
Contini and Nancy J. Condy

 

Bank of America Account #9311374/2 in the name of Nancy J. Condy $63,450.96
POD Finn W. Contini

 

Bank of America Account #627¥960U0Z in the name of Contim, Inc/Finn $658,695.26
W. Contini, President

 

Total 51,016,205.84

 

 

 

 

32. Oregon Secretary of State Corporation Division records show that software
Provisions, LLC, is a domestic limited liability company created on December 13, 2000,
and that Nathaniel Angelus of 3132 SW Upper Drive, Portland, Oregon, is a member of
Software Provisions, LLC. Software Provisions, LLC had a_ website
www.softwareprovisions.com that offers software for sale.

33. Onorabout May 20, 2002, Microsoft Corporate Secunty interviewed another
former employee, Travis Barth, regarding the theft of Microsoft software from the offices
Microsoft employees. Barth admitted to internal investigators that he stole Microsoft
software from employees’ offices and sold it to a friend in Portland, Oregon, named
Nathaniel Angelus.

34. Barth said he met Angelus online in 2001, when he had gift software that he
wanted to sell on eBay. Barth stated that he had not met Angelus in person; instead, they
communicated by email and telephone. Barth explained that he mailed the software to
Angelus’s home address by United Parcel Service using his debit card from the Pony Express
in Redmond, Washington, Barth stated that he had transactions with Angelus in the past,
sometimes selling him software that he purchased from the Microsoft Company Store. Barth
said most of the time he contacted Angelus and offered him software for sale, and sometimes

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Angelus would contact him and ask for specific software.

35. Following Barth’s confession, Microsoft Senior Anti-Piracy Investigator
Kristen Dietz directed Microsoft’s Internet Auction Monitoring Team to be on the lookout
for the uniquely marked boxes of software stolen from the offices of Microsoft employees.

36. On June 11, 2002, Dietz received images of one of the uniquely marked boxes
of software stolen from a Microsoft employee’s office that had been purchased by the
Internet Auction Monitoring Team from Software Provisions, the Portland, Oregon, company
associated with Nathaniel Angelus. Specifically, one box of Microsoft BizTalk 2000
Enterprise, 1 Processor License, SKU # F52-00003 was purchased from Software Provisions,
LLC for $3,295.00, on June 7, 2002.

B = Stephen D. Morse and 5.M. Distribution.

37. Between June 2001, and June 2002, CONTINI deposited $1,348,926.49 in

checks and wire transfers from a company known as 8.M. Distribution to the following

 

 

 

 

 

accounts:

Group Health Credit Union Account #110326 in the name of 19,000.00
Finn W. Contini

Group Health Credit Union Account #122151 in the names of 205,591.30
Finn W, Contini and Nancy J. Condy

Bank of America Account #62 /96602 in the name of Contim, 3049,079,99
Inc./Finn W. Contini, President

Bank of America Account # 531137472 in the name of Nancy J. $485,625.00
Condy POD Finn W. Contini

Total $1,348,296.49

 

 

 

 

38, The Maryland Department of Assessments and Taxation (SDAT) Business
Entity Information shows that S.M. Distribution was incorporated on October 31, 2000, in
Maryland. The resident agent is Stephen Morse and the principal office address and the
resident agent’s address is 1623 Coopers Way, Frederick, Maryland 21701. The current

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mailing address of §.M. Distribution is 43262 Mission Hills Way, Leesburg, Virginia 21076.

39. The Maryland SDAT Real Property Data Search shows that Stephen Morse
owned the townhouse located at 1623 Coopers Way, Frederick, Maryland 21701, from 1996
through March 30, 2001.

40. The Loudon County, Virginia Real Estate Tax, Assessments, and Parcel
Database shows that Stephen Morse purchased the residence located at 43263 Mission Hills
Way, Leesburg, Virginia 20176, on April 6, 2001.

41. In a written statement provided to Microsoft, another former Microsoft
employee, Stephen Hnetinka, admitted to selling internally ordered software to a “David
Morse” of 8.M. Distribution in Virginia.

42. According to Hnetinka, Morse initially contacted Hnetinka in June or July of
2001, after he found Huetinka selling software on eBay. Morse told Hnetinka to contact him
directly when he had software to sell rather than use eBay. Hnetinka stated that Morse
convinced him to place internal product orders for software and sell it to him. Hnetinka’s
internal product orders for software were initially small, but became larger when he realized
he could easily order more software. Morse asked Hnetinka for specific software available
through MS Market.

43, Hnetinka sent about 20 shipments of internally ordered software products to
Morse in Virginia. Two Federal Express airbills dated April 18, 2002, and September 23,
2002, show that Hnetinka sent four packages to a David Morse at 20925 Professional Plaza,
Ashburn, Virginia, 20147, According to Hnetinka, Morse paid Hnctinka between $1,000 and
$10,000 for each shipment of software. Hnetinka estimated that he received $50,000 to
$60,000 from Morse in the course of one year. On a number of occasions, Morse told
Hnetinka that he had people ordering intemal (Microsoft) software (through the IPO
Program) that would get him thousands of pieces.
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IV. CONTINI’S Financial Transactions with Proceeds of Illegal Activity.

44, Prior to Octaber 2000, the only known bank accounts for CONTINI were a
Group Health Credit Union account number 110326 in the name of FINN CONTINI and
a second Group Health Credit Union account number 49488 in the names of FINN
CONTINI and his mother, Nancy Condy. From January 1999, through April 2000, no
significant deposit activity can be discerned in these accounts, other than regular deposits
from CONTINI’s employment at Microsoft.

45. CONTINI earned a total of $10,445.34 in wages at Microsoft in 1999,
$29,567.50 in 2000, $14,085.41 m 2001 and $1,052.17 in 2002, according to his Forms W-2,
Wage and Tax Statements obtained from Microsoft. CONTINI was voluntarily terminated
from Microsoft on or about February 3, 2002, after having been placed on disability leave
for nearly a year.

46. In connection with his employment at Microsoft, CONTINI was granted
options to purchase limited number of Microsoft stock, first on July 31, 2000, and again on
February 12, 2001. None of these options were exercised and both grants were cancelled.

47, The State of Washington Employment Security Department records show that
CONTINI has not been employed since the first quarter of 2002.

48. Asnoted above, beginning May of 2000, and continuing through September
2003, CONTINI received and deposited over $2 million in checks and wire transfers from
Nathaniel Angelus/Software Provisions, LLC and Stephen Morse/S.M. Distributions,
Beginning in October 2000 and continuing through September 2003, CONTINI opened at
least 14 different checking, savings, Lime deposit, and brokerage accounts with Group
Health Credit Union, Bank of America, First Mutual Bank, Morgan Stanley, Ameritrade,
and Scotttrade. These accounts were used by CONTINI to engage in numerous monetary
transactions involving the proceeds derived from the sale of the fraudulently obtained

Microsoft software, including the following;

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49. On or about April 24, 2001, CONTINT withdrew $500,000 from Bank of
America account number 62796602 in the name of Contini, Inc. to open a Morgan Stanley
brokerage account number 130-024050 in the name of Finn Contini.

50. Onorabout June 28, 2001, CONTINI withdrew by wire transfer $215,115.57
from the Group Health Credit Union account number 122151 in the name of Finn Contini
for the purchase of a condominium located at 11804 NE 80th Street, Unit #1, Kirkland,
Washington.

51. On or about September 28, 2001, CONTINI withdrew by wire transfer
$285,125.67 from the Group Health Credit Union account number 122151 in the name of
Finn Contini for the purchase of a condominium located at 7323 Old Redmond Rd., #D8,
in Redmond, Washington.

52. On or about January 23, 2003, CONTINI withdrew by wire transfer
$308,064.25 from the First Mutual Bank Account Number 011-160031-08 in the name of
Finn Contin for the purchase of a condominium located at 7323 Old Redmond Rd., #B3,
in Redmond, Washington.

INVESTIGATION OF ROBERT A. HOWDESHELL
I HOWDESHELL’s Employment with Microsoft.

53. HOWDESHELL began his full-time employment with Microsoft on or about
May 15, 2000, as a Project Coordinator in US-BED Driver Quality, HOWDESHELL was
provided access to MS Market and the [PO Program as an employee of Microsoll.
However, HOWDESHELL had no legitimate business reason in connection with his
employment duties to submit internal product orders for software through the [PO Program.

54.  QOnorabout September 9, 2001, HOWDESHELL informed his supervisor that
he would not be reporting to work for several weeks because of an ailing family member.
HOWDESHELL subsequently never returned to work at Microsoft. On September 30,
2001, HOWDESHELL requested extended leave, but was denied. HOWDESHELL was

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1 || officially terminated from Microsoft effective October 5, 2001.

24 11 HOWDESHELL’s Ordering Activity.

3 55. Beginning in or about July 2001, and continuing through in or about October
4 || 2001, including the period of time when HOWDESHELL was on leave from Microsoft,
5 | HOWDESHELL submitted through the IPO Program orders for 985 pieces of Microsoft

6 || software products as follows:

 

 

 

 

 

 

 

 

 

7 Shipped To Quantity Estimated Retail Price
8 1 | Rob Howdeshell 37 $185,583.00
9 ||| Advanced Computer 948 $3,988,052.00
10 || | Specialties or ACS
14) Total 985 $4,173,635.00
12 56. The types of software ordered by HOWDESHELL included Windows XP

13 || Professional at an estimated retail value of $299.00, and Exchange 2000 Enterprise with 25
l4 | Client Licenses with an estimated retail value of $6,999.00.

15 57. According to the IPO Program records, HOWDESHELL listed FINN
i6 | CONTINI as his approving manager on orders for 969 out of the 985 software pieces he
17 | ordered. CONTINI had no approval authority for HOWDESHELL’s orders.
18 | HOWDESHELL had no reporting relationship to CONTINI.

19 58. The majority of the orders were initiated by HOWDESHELL beginning on
20 || September 12, 2001, through October 7, 2001, the same period of time HOWDESHELL
a1 || was on leave from Microsoft. During this period of time, HOWDESHELL ordered 948
22 | pieces of Microsoft software and caused them to be delivered to an entity named Advanced

23 || Computer Specialties or ACS, at 10020 Main Street, A263, Bellevue, Washington, 98004.

 

24. 59. The investigation has established that the listed address is a mail drop al “The
25 || Mailbox,” a mail box rental center located at 10020 Main Street A in Bellevue, Washington,

26 || An “Agreement” with the Mailbox and Postal Service Form 1583, Application for Delivery

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of Mail Through Agent, both dated September 11, 2001, demonstrate that the mail drop was
rented by ROBERT A. HOWDESHELL. HOWDESHELL signed both the Agreement and
Application and provided his Washington Driver’s License and a Washington Mutual Visa
Card in his name as identification. The Agreement and Application show that the purpose
of the mail drop was for business use under the name Advanced Computer Specialties. The
business address was the same as HOWDESHELL’s home address at that time, 14035 90th
Place NE, Bothell, Washington, 98011.

60. Norecord ofa business with the name of Advanced Computer Specialties or
a business owned by HOWDESHELI. was found in the Washington State Department of
Revenue’s Stale Business Records Database.

Tl HOWDESHELL’s Proceeds of Illegal Activity.

61. HOWDESHELL earned $34,435.92 m wages at Microsoft in the year 2000,
and $45,927.23 in the year 2001, according to his Forms W-2, Wage and Tax Statements
obtained fram Microsoft. Microsoft payroll records show that during 2001, Microsoft
deposited HOWDESHELL?’s semi-monthly pay directly to his checking account number
§12-343623-1 at Washington Mutual. Microsoft deposited HOWDESHELL’s final net pay
of $1,280.48 to this account on October 15, 2001.

62. According to the “Non-Qualified Stock Option Agreement for Purchase of
Stock Under the 2001 Stock Plan of Microsoft Corporation”, Grant Number 0265422,
Microsoft granted HOWDESHELL 240 stock options on February 12, 2001, at the grant
price of $29.3750. This agreement gave HOWDESHELL the option to purchase 120 shares
of Microsoft common stock for a price of $58.75 per share, HOWDESHELL’s right to
purchase one-eighth of the shares covered under the option agreement vested on February
12, 2002, and the right to purchase additional one-eighth increments of the shares would
vest at six-month intervals, thereafter, such that his option would become fully vested fifty-

four months after the grant date. All of HOWDESHELL’s 240 options, however, were

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cancelled and none was exercised.

63. According to HOWDESHELL’s estranged wife, Elizabeth Howdeshell,
HOWDESHELL has been unemployed since his resignation from Microsoft, State of
Washington Employment Sccurity Department records confirm that the only wages paid
to HOWDESHELL for the time period October 1, 2001, through December 31, 2003, were
$1,728.55 (gross wages) paid by Microsoft for the fourth quarter of 2001.

64.‘ The investigation has revealed, however, that fram October 21, 2001, after
HOWDESHELL received his final pay from Microsoft, through April 2003, when he closed
the account, HOWDESHELL deposited over $740,000 into a Washington Mutual joint
checking account number 512-343623-1 in his and his wife’s name. HOWDESHELL,
however, has not filed any federal income tax returns for those years.

[¥ HOWDESHELL’s Financial Transactions.

65. With the extensive use of cashier's checks, HOWDESHELL purchased
numerous big-ticket items with the proceeds from the sale of the fraudulently obtained
software that were deposited into his Washington Mutual Bank Account number 512-
343623-1.

66. Onor about November 27, 2001, HOWDESHELL withdrew $18,500 from
the Washington Mutual Bank account 512-343623-1 for the purchase of car audio
equipment from Foss Audio.

67.  Qnor about January 14,2002, HOWDESHELL withdrew $35,000 from the
Washington Mutual Bank account 512-343623-1 for the purchase of a 2000 Ford
Excursion.

68. On or about January 25, 2002, HOWDESHELL withdrew $56,903.87 fram
the Washington Mutual Bank account 512-343623-1 for the purchase of a 2002 Sea Ray
boat.

69. Onorabout February 13,2002, HOWDESHELL withdrew $50,493.92 from

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the Washington Mutual Bank account $12-343623-1 for the purchase of a 2002 GMC
Yukon.

70. On or about October 9, 2002, HOWDESHELL withdrew $28,000 in two
checks from the Washington Mutual Bank account 512-343623-1 for the purchase of an
espresso stand business.

INVESTIGATION OF ALYSON M. CLARK
I CLARK’s Employment wi icrosoft.

71. CLARK was began full-time employment with Microsoft on or about June
29, 1992, as a Group Assistant. Clark was employed by Microsoft continually in the
capacity of a Group Assistant until her termination on or about October 7, 2004.

72. CLARK was provided access to MS Market and the IPO Program as an
employee of Microsoft, CLARK ’s duties as a Group Assistant included ordering supplies,
hardware, and software through the IPO Program for use by the group to which she was
assigned,

II CLARK’s Ordering Activit

73. Beginning in or about April 2002, and continuing through in or about
November 2002, CLARK submitted numcrous orders for Microsoft sofiware products.
CLARK submitted orders for approximately 618 pieces of Microsoft software products.
Her orders included Windows 2000 Server with 25 Client Licenses with an estimated retail
value of $1,199, and the SQL Server 2000 Enterprise Edition with 25 Clicnt Licenses with
an estimated retail value of $11,099.00.

74. According to Microsoft, the type and quantities of software ordered by
CLARK had no relation to any legitimate Microsoft business in connection with her
employment duties, All of the orders submitted by CLARK were shipped to her at the
Microsoft Corporation, 4200 150th Ave. NE, Redmond, WA 98052.

Til CLARK’s Proceeds of Iegal Activity.

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The Investigation has revealed that FINN CONTTNI wrote bi-monthly or

monthly checks made payable to CLARK during the same period of time CLARK

submitted her orders for Microsoft soflware. Between May 2002, through January 2003,
CONTINI paid CLARK approximately $196,680.00.

Microsoft analysis of CLARK’s emails contained on the corporate computer

revealed the following email communications between CLARK and CONTINI:

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76.
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78.
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On February 10, 2003, CLARK wrote to CONTINI:

its almost like my sister. Last time she was getting
on m¢ about the whole moncy and where it came from
thing (and telling me it’s changed her whole opinion of
me and she doesn’t know how she’li ever get back to
thinking well of me again),...1 reminded her that she had
*no* qualms about taking $3k from me to get her sewer
ipe fixed, and she responded by saymg no, she didn't
ave any problems with that, because she saw it as a
“little bit of good coming out of a bad situation”...

On May 20, 2003, CLARK wrote to CONTINI:

Every time you tell me to stay debt free I feel horribly
ashamed of mysclf for still having debt after everything
you've done for me. I's geting a handle on my
‘addiction,” as it were - spending is way down, and
when I do buy things for myself, 1m more able to pa
cash now, thanks to you. But, that doesn’t erase that
racked up before i managed to get a better handle on it.
I’m working on it, and trying to do beiter and fight the
depression that causes me to do it in the first place. I
guess that’s all I can do, since there’s no more big cash
payouts coming,

On May 21, 2003, CONTINI responded to CLARK:

Yeah, the cash payouts are a thing of the past. A
slumping economy would have put a damper on it
anyway because nothing is moving these days (product
still in the pipeline is jest sitting on shelves). But you
took what you got and put it to good use, an advantage
few people will receive in their lifetime...

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INVESTIGATION OF CHRISTINE J. HENDRICKSON

I HENDRICKSON’s Employment with Microsoft.
80. HENDRICKSON began her full-time employment with Microsoft on or

about March 13, 2000. She was employed as a Group Assistant until her termination on
June 12, 2002, HENDRICKSON was given access to MS Market and the [PO Program
as an employee of Microsoft. HENDRICKSON’: duties as Group Assistant including
ordering supplies, hardware and software through the IPO Program for her group.
II HENDRICKSON?’s Ordering Activity.

81. Beginning in or about June 2001, and continuing through on or about Junc
12, 2002, HENDRICKSON placed through the 1PO Program orders for 1726 pieces of
Microsoft software, shipped to the following individuals:

 

 

 

 

 

 

 

Shipped To Quantity estimated Retail Price
Nathaniel Angclus 552 $4,742,208

Ali Raisdanai 488 $1,894,042

N. Candy 300 $1,231,620

Christine Hendrickson 192 $378,118
Miscellaneous 194 $1,483,736

Total 1726 $9,729,724

 

 

 

 

 

 

&2. According ta the LPO Program order records, CONTINI was listed as the
approving manager for 250 items ordered by HENDRICKSON. CONTINI had no
authority ta approve HENDRICKSON’s orders. HENDRICKSON had no reporting
relationship to CONTINI.

83. HENDRICKSON caused io be shipped the largest quantity of software to
Nathaniel Angelus, the same individual to whom CONTINI sent software and received
large proceeds, HENDRICKSON placed the orders for Angelus beginning in or about
January 2002, through in or about May 2002. The orders included 150 units of SQL

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Server 2000 Enterprise Edition International. The estimated retail price of cach SQL
Server software is $19,999.00. The sofiware destined for Nathaniel Angelus were
caused by HENDRICKSON to be shipped to the following addresses:

 

 

 

 

 

 

Nathaniel Angelus 6663 SW Beaverton-Hillsdale Hwy, Suite
#PMB 271 Portland, OR 97225

Business Data Solutions 6701 SW Murray Blvd., PMB 286
Beaverton, OR 97008-4467

Computer Partners 9610 SE 82nd Ave., Suite C PMB #31
Portland, Oregon 97266

 

84. —_ All three addresses listed above are for mailbox rental centers.

$5. Oregon Secretary of State Corporation Division records show that Articles
of Incorporation were filed for Business Data Solutions Co. and Computer Partners, Ltd.
on May 17, 2002. Both corporations filed Articles of Dissolution one month later on Junc
17, 2002. The mailing address of both Business Data Solutions and Computer Partners
was listed as 3132 SW Upper Drive, Portland, Oregon 97201, the same address associated
with Nathaniel Angelus as set forth above.

&6. An analysis of the hard drive of the laptop computer assigned by Microsoft
to HENDRICKSON revealed an email communication from CONTINI to
HENDRICKSON in or about February or March of 2002. In the email, CONTINI, using
the email address finnwc00@yahoo.com writes: “Nathaniel rec’d 24 SQL NFR units
today (only 20 were ordered — didn’t J tell you the warehouse was fucked up?) and he said
he should be able to make deposits by Thursday or Friday of this week. Your net is a
little over 17K. This is all going better than I expected. Finn.”

87. Analysis of HENDRICKSON’s orders also demonstrated that she caused
to be delivered large quantities of software to entities associated with Ali Raisdanai at
the same mailbox addresses used by CONTINI to deliver software, including the

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following:

ADC ALI RAISDANAI 30251 Golden Lantern #160
Laguana Niguel, CA 92677

TERATEC AL RA ISDO 27738 Santa Margarita Pkwy
Mission Viejo, CA 92691

VIDCOM #199 A. RASOLANI 26741 Portola Pkwy, Suite 1E
Foothills Ranch, CA 92610-
1743

 

 

 

 

 

88. On June 7, 2002, HENDRICKSON provided a brief handwritten statement
to Microsoft admitting that she submitted internal product orders that caused software to
be shipped directly to “A. Rasoldini / Ali”. She described Raisdanai as someone who
contacted her and claimed he had his own company and needed software for testing.
Raisdanai allegedly told HENDRICKSON it was “no big deal” as it was something he did
himself when he worked at Microsoft. Raisdanai later provided company names and
addresses for other friends in the business so HENDRICKSON could also ship them
software,

89. A forensic analysis by a Microsoft investigator of the hard drive in the
laptop computer Microsoft assigned to HENDRICKSON recovered evidence of email
exchanges between CONTINI and HENDRICKSON regarding Ali Raisdanai, In or
about February or March of 2002, an individual believed to be CONTINI, using the email

address finnwc00@yahoo.com, wrote:

This worked out better than a Word doe. Id limit each
notepad to two items because these tend to get a little lon
and Yahoo only supports so many lines, (It’s always the Tittle
things, isn’t it?) Ali sent your checks today — I'll call you a
little later about picking them up. They total 18K.
Everything we ordered for him has come in and been sold so
this is your final payout from that first round of orders. 11}
give you another round at the end of this month to placate

im. Finn,

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90. HENDRICKSON ordered software through the IPO Program in February
2002 and May 2002 and had it shipped to “N. Candy” or “N.C.” using the following

company names and addresses:

 

 

GUARDIAN ENTERPRISES N. CANDY |] 15127 NE 24th Street # 297
Redmond, WA 98052

SFX SOLUTIONS N.C. 11410 NE 124th Street,
PMB #464
Kirkland, WA 98034

 

 

 

 

 

OT. Both of these addresses are mailbox rental centers.

92. According te records of Pony Express Mail & Busmess Centers, 15126
NE 24th Street, Redmond, Washington 98052, mailbox #297 was rented by Nancy
Condy, CONTINI’s mother, until mid June 2002. The UPS store, 11410 NE 125th
Street, Kirkland, Washington 98034 no longer had records relating to the rental of PMB
#464 prior ta December 2002.

93. Norecords of any businesses with the names Guardian Enterprises or SFX
Solutions, or a business owned by “N.Candy,” was found in the Washington State
Department of Revenue'’s State Business Records Database.

94. No record of any businesses with the names of Guardian Enterprises or
SFX Solutions was found on the Washington Secretary of State’s website.
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95. The types of Microsoft software HENDRICKSON had shipped to “N.
Candy” and “N.C.” included Windows 2000 Clicnt Access License with 20 Microsalt
License Packs, with an estimated retail value of $739.00 and SQL Server 2000

Enterprise Edition International with an estimated retail value of $19,999.00.

 

Complaint gnd affidavit sworn to before me and subscribed in my

presence, A Oem. bey” E , 2004.

 

 

 

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